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   8
                            UNITED STATES BANKRUPTCY COURT
   9               FOR THE NORTHERN DISTRICT OF CALIFORNIA, DIVISION 4
  10
  11
       In Re:                         )                 Chapter 13
  12                                  )
     ROSEMARY GREENE,                 )                 Bankruptcy No. 17-41704
  13                                  )
                   Debtor.            )
  14 ________________________________ )                 HON. CHARLES NOVACK
  15                           AMENDMENT TO SCHEDULES F
  16            The debtor hereby amends Schedule F in this case as attached hereto and declares
  17 under penalty of perjury that those matters set forth in the amendments are true and
  18 correct to the best of her knowledge and belief.
  19
            10/12/2017
  20 Date: ________________                 /s/ Rosemary Greene
                                           _______________________________________
                                           ROSEMARY GREENE
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